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                                              NO. 23-2194
                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                  GENBIOPRO, INC.,
                                        Plaintiff-Appellant,
                                               v.
         KRISTINA D. RAYNES, in her official capacity as Prosecuting Attorney of
          Putnam County, and PATRICK MORRISEY, in his official capacity as
                         Attorney General of West Virginia,
                                      Defendants-Appellees.
                      On Appeal from the United States District Court
                  for the Southern District of West Virginia (Huntington)
                     Case No. 3:23-cv-00058, Hon. Robert C. Chambers

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                                   INTRODUCTION

              States have long possessed sovereign authority to protect the
        health and welfare of their citizens. Yet GenBioPro claims that the Food

        and Drug Administration’s approval and regulation of the abortion drug
        mifepristone means that states are powerless to protect their citizens’
        safety. That defies ordinary preemption principles. It also runs contrary
        to the Supreme Court’s admonition that “the issue of abortion [belongs]
        to the people’s elected representatives.” Dobbs v. Jackson Women’s
        Health Org., 597 U.S. 215, 232 (2022).

              According to GenBioPro, because FDA determined that mifepris-
        tone is a uniquely harmful drug needing a Risk Evaluation and
        Mitigation Strategy (REMS) and elements to assure safe use, states
        cannot enact health- and safety-focused laws that may have an effect on
        access to such drugs. Thus, GenBioPro says, West Virginia’s democrati-
        cally enacted Unborn Child Protection Act (UCPA), which “protect[s]

        unborn lives” by limiting abortion to certain circumstances, is invalid.
        W. Va. Code § 16-2R-1.
              But Congress never granted to any agency the authority to require

        nationwide access to abortion or other especially harmful drugs. The
        reach of the Food, Drug, and Cosmetic Act (FDCA) is much more
        modest. In contrast to the federal ceiling GenBioPro imagines, the
        FDCA merely empowers FDA to set a federal floor, ensuring that the
        drugs it approves are safe and effective. Wyeth v. Levine, 555 U.S. 555,


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        573–74 (2009). Consequently, the FDCA has long operated as a
        supplement to the states’ traditional authority to protect health and

        safety, including the regulation of the practice of medicine.
              The district court correctly rejected GenBioPro’s claims, and the
        outcome here should be no different. To start, GenBioPro lacks standing
        to sue. It does not allege it sells its products in West Virginia, it is not
        subject to any sanction per the UCPA, and the actions it proposes would
        not violate the revised criminal statute. And while the pharmacies and

        prescribers that provide GenBioPro’s products might be subject to the
        UCPA, GenBioPro lacks third-party standing to sue on their behalf.
        Moreover, GenBioPro lacks a private right of action to enforce the
        Supremacy Clause in any event.
              GenBioPro fares no better on the merits. When Congress legi-
        slates in a field traditionally occupied by states, federal law does not
        preempt state law “unless that was the clear and manifest purpose of
        Congress.” Rice v. Sante Fe Elevator Corp., 331 U.S. 218, 230 (1947).
        But nothing in the FDCA’s text indicates Congress meant to supersede
        state laws on health and safety, let alone laws on the major question of
        abortion. Indeed, the FDCA’s saving clause points in the opposite
        direction. See Drug Amendments of 1962, Pub. L. No. 87-781, § 202, 76
        Stat. 780, 793.
              GenBioPro’s argument that the REMS provisions allow FDA to
        impose a nationwide abortion-drug access mandate is wrong. To


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        conclude that the REMS provisions silently abrogated states’ traditional
        authority to guard health and safety would lead to an absurd end: the

        riskier a drug, the less power states have to protect their citizens from
        that drug’s risks. If GenBioPro were right, states could regulate
        antibiotics but not opioids. That result stands the FDCA and ordinary
        preemption principles on their head. This Court should affirm the
        grounds for dismissal below.

                          JURISDICTIONAL STATEMENT

              This Court has appellate jurisdiction over GenBioPro’s timely
        appeal under 28 U.S.C. § 1291. But the Court lacks jurisdiction to
        decide the merits of this appeal because the district court lacked
        subject-matter jurisdiction. See Steel Co. v. Citizens for a Better Env’t,
        523 U.S. 83, 95 (1998). For the reasons set forth in Point I of the
        Argument below, this matter does not present an Article III case or
        controversy. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). So the

        Court should remand with instructions to dismiss for lack of
        jurisdiction.




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                           STATEMENT OF THE ISSUES

              1.    Whether GenBioPro has standing to challenge West
        Virginia’s laws where GenBioPro does not allege it has ever sold
        mifepristone in the State.
              2.    Whether a private cause of action exists to challenge the
        enforcement of state law that purportedly conflicts with the FDCA.
              3.    Whether the FDCA and FDA’s adoption of additional

        restrictions on high-risk drugs like mifepristone preempt state laws
        that protect health and safety, including West Virginia’s laws on
        abortion.




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                            STATEMENT OF THE CASE

        I.    West Virginia protects unborn life and maternal health.
              Less than two years ago, the Supreme Court “return[ed] the issue
        of abortion to the people’s elected representatives.” Dobbs v. Jackson
        Women’s Health Org., 597 U.S. 215, 232 (2022). The Court held that
        “[s]tates may regulate abortion for legitimate reasons,” including the
        “preservation of prenatal life” and the “protection of maternal health
        and safety.” Id. at 300–01. West Virginia quickly enacted the Unborn

        Child Protection Act to do just that. W. Va. Code § 16-2R. The UCPA
        replaced the State’s prior law governing informed consent for abortion.
        W. Va. Code § 16-2I-2.

              A.   The Unborn Child Protection Act.

              The UCPA “protect[s] unborn lives” by limiting abortion except in
        certain circumstances. W. Va. Code § 16-2R-1. The Act defines “abor-
        tion” to mean “the use of any instrument, medicine, drug, or any other
        substance or device with intent to terminate the pregnancy of a patient
        known to be pregnant and with intent to cause the death and expulsion
        or removal of an embryo or a fetus.” W. Va. Code § 16-2R-2. The UCPA
        excludes from this definition miscarriages, in vitro fertilization,
        contraception, and medical treatment that unintentionally injures an
        unborn child. W. Va. Code § 16-2R-4. The Act does not identify any drug
        by name.




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              A licensed medical professional may perform an abortion under
        the UCPA if the unborn child is “nonviable” due to a lethal anomaly, the

        “pregnancy is ectopic,” or a “medical emergency exists.” W. Va. Code
        §§ 16-2R-2, 16-2R-3(a). The Act also allows abortion at an early stage if
        the pregnancy resulted from sexual assault or incest reported to law
        enforcement. W. Va. Code § 16-2R-3(b) (8 weeks for adults), § 16-2R-3(c)
        (14 weeks for minors).
              If a licensed medical professional performs, induces, or attempts

        to perform or induce an abortion outside these circumstances, the
        appropriate licensing board “shall revoke” the professional’s license. W.
        Va. Code § 16-2R-7. An unlicensed person who performs, induces, or
        attempts an abortion commits a felony. W. Va. Code § 61-2-8(a), (b).1
        This provision does not apply to or impose any penalty on the pregnant
        woman on whom the abortion is performed. W. Va. Code § 61-2-8(c).

              B.   The Informed-Consent Law.

              Consistent with long-standing pre-Dobbs Supreme Court prece-
        dent, West Virginia sought to protect women who chose abortion in that
        era. The Women’s Right to Know Act, for instance, required abortion
        providers to obtain informed consent from their patients. W. Va. Code
        § 16-2I. The Act required an abortion provider to inform the woman, at



        1 This section of code was revised contemporaneous with the enactment

        of the UCPA, replacing a then-extant pre-Roe criminal abortion statute.


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        least 24 hours before the abortion, of the medical risks of her abortion
        procedure, the probable gestational age of her child, and the medical

        risks of carrying her child to term. W. Va. Code § 16-2I-2(a)(1)–(3); see
        also W. Va. Code § 16-2I-2(b), (c) (listing additional information to be
        provided). If the provider intended to induce an abortion using the two-
        drug regimen of mifepristone and misoprostol, the provider had to
        inform the woman of the possibility of abortion-pill reversal. W. Va.
        Code § 16-2I-2(a)(4); see JA299. The informed-consent law is not in

        effect now because the UCPA expressly supersedes it so long as no
        UCPA provision is “judicially determined to be unconstitutional.” W.
        Va. Code §§ 16-2I-9, 16-2R-9.

        II.   The FDCA protects consumers from dangerous drugs.

              A.   The Federal Food and Drugs Act.

              Congress enacted the Federal Food and Drugs Act, its “first
        significant public health law,” in 1906. Ch. 3915, Pub. L. No. 381, 34
        Stat. 78; Wyeth v. Levine, 555 U.S. 555, 566 (2009). The Act “supple-
        mented the protection for consumers already provided by state
        regulation and common-law liability,” Wyeth, 555 U.S. at 566, by
        prohibiting “the manufacture, sale, or transportation of adulterated or
        misbranded ... drugs,” 34 Stat. at 78.




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              B.    The Federal Food, Drug, and Cosmetic Act.

              Congress enhanced those protections in 1938 by passing the

        Federal Food, Drug, and Cosmetic Act (FDCA). Ch. 675, Pub. L. No.
        717, 52 Stat. 1040 (codified as amended at 21 U.S.C. §§ 301–99).
        Through the FDCA, Congress sought to further supplement state
        regulation and “bolster consumer protection against harmful products.”
        Wyeth, 555 U.S. at 566, 574. The FDCA requires drug sponsors to file
        an application with, and receive approval from, FDA before introducing
        any new drug to the market. 21 U.S.C. § 355. The sponsor must include
        investigative reports and tests in the application to show that the drug
        is both “safe” and “effective.” § 355(b)(1)(A).
              Critically, any “proceedings for the enforcement, or to restrain
        violations,” of the FDCA must “be by and in the name of the United
        States.” § 337(a). Only the federal government—not private litigants—

        may file suit for noncompliance. Buckman Co. v. Plaintiffs’ Legal
        Comm., 531 U.S. 341, 349 n.4, 352 (2001); Medtronic, Inc. v. Lohr, 518
        U.S. 470, 487 (1996) (plurality opinion).

              C.    The Drug Amendments Act of 1962.

              In 1962, Congress amended the FDCA to “protect the public

        health” and “assure the safety, effectiveness, and reliability of drugs.”
        Drug Amendments Act of 1962, Pub. L. No. 87-781, 76 Stat. 780, 780.
        Under the original version of the FDCA, FDA had to prove harm to

        reject an application. Wyeth, 555 U.S. at 567. But the 1962 amendments


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        shifted this burden. Id. The sponsor now had to prove the new drug was
        safe and effective under the conditions described in its proposed

        labeling. 21 U.S.C. § 355(d).
              When amending the FDCA, Congress “took care to preserve state
        law.” Wyeth, 555 U.S. at 567. It included a saving clause to preserve
        state laws that also protect public health: “Nothing in the amendments
        made by this Act ... shall be construed as invalidating any provision of
        State law which would be valid in the absence of such amendments

        unless there is a direct and positive conflict between such amendments
        and such provision of State law.” § 202, 76 Stat. at 793. “Consistent
        with that provision, state common-law suits continued unabated despite
        FDA regulation.” Wyeth, 555 U.S. at 567 (cleaned up).

              D.   The Medical Device Amendments of 1976.

              Congress amended the FDCA yet again in 1976, this time “to
        provide for the safety and effectiveness of medical devices.” Medical
        Device Amendments of 1976, Pub. L. No. 94-295, 90 Stat. 539, 539. The

        1976 amendments expressly preempted any state requirement
        “different from, or in addition to,” federal requirements for medical
        devices. § 521, 90 Stat. at 574. Importantly, Congress “declined to enact

        such a provision for prescription drugs.” Wyeth, 555 U.S. at 567.




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              E.   The FDA Amendments Act of 2007.

              In 2007, Congress passed the Food and Drug Administration

        Amendments Act (FDAAA) to “enhance the postmarket authorities” of
        FDA “with respect to the safety of drugs.” Pub. L. No. 110-85, 121 Stat.
        823, 823 (codified at 21 U.S.C. § 355-1). Recognizing that post-market
        safety measures could be essential to ensure that certain high-risk
        drugs’ benefits outweighed their risks, the FDAAA authorized FDA to
        establish safety programs for such drugs. 21 U.S.C. § 355-1(a). As part
        of these “risk evaluation and mitigation strategies,” or REMS, FDA may
        require the drug’s sponsor to create a medication guide and patient
        package insert to be dispensed with the drug. § 355-1(a), (e)(2).
              Congress also authorized FDA to impose additional safety
        measures—called “elements to assure safe use”—for drugs that pose a
        particularly “serious risk,” such as death, hospitalization, or birth

        defects. § 355-1(b)(4)–(5), (f)(1)–(2). Due to the “inherent toxicity or
        potential harmfulness” of these drugs, FDA may require that
        prescribers and pharmacies be specially certified, that the drug be

        dispensed only in certain healthcare settings or under certain safe-use
        conditions, and that users be registered or monitored. § 355-1(f)(1), (3).
              At the same time, Congress limited FDA’s authority to impose

        federal safe-use elements. It directed that FDA’s elements to assure
        safe use must not unduly burden patient access to the drug. § 355-
        1(f)(2)(C). And it instructed FDA to take certain steps to minimize the



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        elements’ “burden on the health care delivery system.” § 355-1(f)(2)(D)
        (directing FDA to conform safe-use elements with those “for other drugs

        with similar, serious risks” and to make them “compatible with estab-
        lished ... systems” for distributing and dispensing drugs).

        III. FDA creates a mifepristone REMS with safe-use elements.
              In 2000, FDA approved Mifeprex, Danco Laboratories’ brand-

        name mifepristone, for the termination of pregnancy up to seven weeks’
        gestation. JA309–310. FDA has always recognized that the drug poses
        serious health risks. The FDA-approved label includes a black-box

        warning that “[s]erious and sometimes fatal infections and bleeding”
        may occur.2 And the label shows that the drug sends roughly 1 in 25
        users to the emergency room and that up to 7% of users will need
        surgery to stop bleeding or end the pregnancy. 3
              FDA initially restricted Mifeprex under its own Subpart H
        regulations. JA310; see 21 C.F.R. § 314.520(a). But when the FDAAA
        created the REMS regime in 2007, it implemented a temporary stopgap
        measure to facilitate the transition. Previously approved drugs with
        Subpart H restrictions were temporarily “deemed to have in effect an



        2 Mifeprex (Mifepristone) Label at 1 FDA (Jan. 2023) (“2023

        Mifepristone Label”),
        https://www.accessdata.fda.gov/drugsatfda_docs/label/2023/020687Orig
        1s025Lbl.pdf.
        3 Id. at 8 tbl. 2, 17.




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        approved [REMS].” § 909(b)(1), 121 Stat. at 950. Sponsors had to
        propose a new REMS for the drugs within 180 days. § 909(b)(3), 121

        Stat. at 951. FDA later identified Mifeprex as one drug that was subject
        to Subpart H regulations. JA301.
              Danco submitted a proposed REMS for Mifeprex, and FDA
        approved it in 2011. JA314. The 2011 REMS provided that the drug
        could be prescribed only by certified physicians and dispensed and
        taken only in certain healthcare settings. 4 JA314. In 2016, FDA revised

        the REMS to increase the indicated gestational age from seven to ten
        weeks, reduce the number of office visits from three to one, and allow
        non-physicians to prescribe the drug. 5 JA314.

              FDA approved GenBioPro’s generic version of mifepristone in 2019.
        JA315. The generic is subject to the same REMS as Mifeprex.6 JA315.




        4 NDA 20-687 MIFEPREX (mifepristone) Tablets, 200 mg Risk

        Evaluation and Mitigation Strategy (REMS), FDA (June 2011),
        https://www.fda.gov/media/164648/download?attachment.
        5 NDA 020687 MIFEPREX® (mifepristone) Tablets, 200 mg Risk

        Evaluation and Mitigation Strategy (REMS), FDA (Mar. 2016),
        https://www.fda.gov/media/164649/download?attachment.
        6 Risk Evaluation and Mitigation Strategy (REMS) Single Shared

        System for Mifepristone 200mg, FDA (Apr. 2019),
        https://www.fda.gov/media/164650/download?attachment.


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              In 2021, FDA removed the in-person-dispensing safety require-
        ment, allowing the drugs to be dispensed through the mail.7 JA315. It

        revised the REMS in 2023 to allow certified pharmacies to dispense
        mifepristone. JA317. The current REMS requires participating
        prescribers, pharmacies, and patients to sign specific agreement forms. 8

        JA317. And the REMS makes drug manufacturers like GenBioPro
        responsible for certifying healthcare providers to prescribe mifepristone
        and pharmacies to dispense it.9 Those certified prescribers and

        pharmacies also must report all deaths associated with the drug to
        GenBioPro, which must report them to FDA. 10

        IV.   GenBioPro does not sell mifepristone in West Virginia.
              Despite FDA’s approval of generic mifepristone five years ago,

        JA315, GenBioPro has taken no steps to distribute the drug in West
        Virginia. Indeed, GenBioPro’s complaint does not allege its mifepristone

        7 The Supreme Court is considering the lawfulness of this action and

        the 2016 REMS revisions. See U.S. Food & Drug Admin. v. Alliance for
        Hippocratic Med., No. 23-235; Danco Lab’ys, L.L.C. v. Alliance for
        Hippocratic Med., No. 23-236. Oral argument took place on March 26,
        2024.
        8 Risk Evaluation and Mitigation Strategy (REMS) Single Shared

        System for Mifepristone 200mg, FDA (Mar. 2023) (“2023 Mifepristone
        REMS”),
        https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_202
        3_03_23_REMS_Full.pdf.
        9 Id. at 2, 4.

        10 Id. at 2, 3, 5.




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        has ever been sold in West Virginia. While a few national pharmacy
        chains have indicated that they intend to sell mifepristone in some

        locations, none currently sells the drug in West Virginia. JA322. And
        GenBioPro does not allege that it has certified any pharmacy locations
        in West Virginia. Indeed, GenBioPro does not allege it has certified any
        healthcare providers in West Virginia to prescribe mifepristone, and
        GenBioPro itself has not received a manufacturer’s license from the
        West Virginia Board of Pharmacy.11

        V.    The district court dismisses GenBioPro’s complaint.
              After filing and then voluntarily dismissing a challenge to
        Mississippi’s abortion laws,12 GenBioPro brought this lawsuit against
        West Virginia’s similar laws, despite having not sold mifepristone in the
        State. The complaint alleges that the UCPA and other laws regulating
        abortion violate the Supremacy and Commerce Clauses of the United
        States Constitution because they restrict GenBioPro’s sale of, and

        patients’ access to, mifepristone. JA22–23.




        11 Licensee Verification, West Virginia Board of Pharmacy (last accessed

        Mar. 20, 2024), https://www.wvbop.com/public/verify/index.asp. The
        Court may take judicial notice of government records. United States v.
        Cecil, 836 F.2d 1431, 1452 (4th Cir. 1988); Goldfarb v. Mayor of Balt.,
        791 F.3d 500, 508 (4th Cir. 2015).
        12 GenBioPro, Inc. v. Dobbs, 3:20-cv-00652, Dkt. 46 (S.D. Miss. Aug. 18,

        2022).


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              The district court dismissed nearly all of GenBioPro’s claims.
        JA289. The lower court determined that GenBioPro had standing but

        that neither conflict nor field preemption principles applied to the
        UCPA. JA116, JA269–270, JA277. Examining the FDAAA’s text, the
        court determined the patient access and burden provisions “plainly”
        were “limitation[s] on the FDA’s own restrictions on a drug, rather than
        a command that the FDA assure access for all patients.” JA268. It could
        not “find any evidence of Congressional intent in the FDCA or FDAAA

        amendments to preempt state laws of the type challenged here.” JA266.
        The court also found it implausible that Congress intended “the FDAAA
        access language to preempt state abortion restrictions which would
        have been unconstitutional at the time the FDAAA was passed.”
        JA268–269 (citing Planned Parenthood of Se. Penn. v. Casey, 505 U.S.
        833, 846 (1992)). The UCPA thus did “not pose an ‘unacceptable
        obstacle to the accomplishment and execution of the full purposes and
        objectives of Congress.’” JA269 (quoting Wyeth, 555 U.S. at 563–64).
              The district court also concluded that the UCPA did not make it
        impossible for GenBioPro or medical professionals to comply with
        federal law. JA270–273. The court explained GenBioPro was “not
        regulated by the UCPA at all,” since it is not a “licensed medical
        professional” under West Virginia law. JA270–271. Although medical
        professionals would have to take several steps to prescribe mifepristone
        under both the REMS and the UCPA, the court found this “scheme


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        coheres with traditional conceptions of the practice of medicine and the
        scope of physicians’ authority as state matters.” JA272. Because the

        UCPA “limited when an abortion may be performed, without touching
        how medication abortion is to be performed,” the court reasoned, it did
        not directly conflict with “the logistical REMS regulations.” JA272–273
        (citing Virginia Uranium, Inc. v. Warren, 139 S. Ct. 1894, 1901 (2019);
        Nat’l Meat Ass’n v. Harris, 565 U.S. 452, 467 (2012)).
              The court also held that Congress had not occupied the field of

        drug regulation generally or GenBioPro’s narrowed field of “drugs
        subject both to a REMS and to additional elements to assure safe use.”
        JA274. The saving clause in the 1962 amendments “foreclosed any
        argument for complete field preemption.” JA275. The REMS provision
        did not change the analysis, in part because the presumption against
        preemption was “strongest” when Congress acts in a field the states
        have traditionally occupied. JA275–276 (citing Wyeth, 555 U.S. at 565).
        And “the Supreme Court has repeatedly held that the FDCA does not
        preempt state action in the field of healthcare or medicine absent a
        direct conflict.” JA275 (citing Wyeth, 555 U.S. at 581; Mutual Pharm.
        Co. v. Bartlett, 570 U.S. 472, 486–87 (2013)). The court distinguished
        United States v. Locke, 529 U.S. 89 (2000), because “regulating
        interstate navigation is historically an area of federal concern” and the
        limited saving clauses at issue there preserved state action in only a
        certain sub-field. JA276–277. In contrast, regulating the practice of


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        medicine is not a traditional federal concern, and the Supreme Court
        has found the FDCA’s saving clause to “contain breadth.” JA277 (citing

        Wyeth, 555 U.S. at 567).
              Because West Virginia’s informed-consent law is not currently
        operative, the court did not analyze whether it was preempted. JA278.
        While the court found West Virginia’s in-person-dispensing requirement
        for mifepristone to be preempted, JA277–278 (citing W. Va. Code §§ 30-
        3-13a(g)(5), 30-1-26(b)(9)), GenBioPro later amended its complaint to

        remove this claim, JA293–294.
              The court also held the UCPA did not violate the Commerce
        Clause. JA278–289. 13 It entered final judgment dismissing the case.

        JA337. GenBioPro appealed. JA338.

                          SUMMARY OF THE ARGUMENT

              GenBioPro’s claim that FDA’s regulation of mifepristone somehow
        creates a national mandate to abortion access until ten weeks’ gestation
        fails for three reasons: (1) it lacks standing; (2) it lacks a cause of action;
        and (3) its preemption theory fails on the merits.
              First, GenBioPro lacks standing because it does not allege that it
        has sold mifepristone in West Virginia or taken any steps to do so. Plus,

        13 By failing to challenge this holding in its opening brief on appeal,

        GenBioPro has abandoned its Commerce Clause claim. See Suarez-
        Valenzuela v. Holder, 714 F.3d 241, 248–49 (4th Cir. 2013)
        (“[C]ontentions not raised in the argument section of the opening brief
        are abandoned.”) (emphasis removed) (citation omitted).


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        West Virginia law would not even prohibit such sales. GenBioPro’s “lost
        sales” theory relies on third-party standing based on harm to

        GenBioPro’s putative customers, but GenBioPro has not alleged its own
        injury in fact. The Court should therefore direct a dismissal for lack of
        jurisdiction.
              Second, GenBioPro lacks a cause of action to bring its Supremacy
        Clause claim, and this Court can affirm on that basis. Section 1983
        provides a cause of action for the violation of federal rights, but the

        Supremacy Clause is not itself the source of any rights. The FDCA
        explicitly states that only the federal government may bring a claim for
        its enforcement. 21 U.S.C. § 337(a). The United States has not brought
        such a claim here.
              Third, the FDCA does not preempt West Virginia’s laws
        protecting life and health. GenBioPro’s preemption claims must clear
        two demanding hurdles: the presumption against preemption for areas
        of historic state regulation, and the major questions doctrine. None of
        GenBioPro’s preemption theories can surmount these two obstacles.
        There is no field preemption because the UCPA and FDCA regulate
        separate fields, and in any event, Congress has not preempted the field
        for drug safety, even for REMS drugs. Nor is there impossibility pre-
        emption because the FDCA does not mandate access to REMS drugs
        and the UCPA does not prevent compliance with federal law. There is




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        no obstacle preemption either because West Virginia’s laws and the
        FDCA serve complementary purposes.

              In short, GenBioPro cannot show the existence of an actionable
        controversy, a cause of action, or a meritorious claim. The Court should
        direct the dismissal of its case for lack of jurisdiction or affirm the
        district court’s dismissal with prejudice.

                                   STANDARD OF REVIEW

              This Court reviews a district court’s grant of a motion to dismiss
        for failure to state a claim de novo. Weidman v. Exxon Mobil Corp., 776
        F.3d 214, 219 (4th Cir. 2015). A district court’s standing determinations
        are also reviewed de novo. Maryland Shall Issue, Inc. v. Hogan, 971
        F.3d 199, 209 (4th Cir. 2020).
              To survive a motion to dismiss, a complaint must allege “enough
        facts to state a claim to relief that is plausible on its face.” Bell Atl.
        Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although the Court must

        accept the complaint’s factual allegations as true, it need not accept
        legal conclusions couched as factual allegations. Ashcroft v. Iqbal, 556
        U.S. 662, 678 (2009). And the Court may take judicial notice of “matters

        of public record” and other adjudicative facts under Federal Rule of
        Evidence 201. Goldfarb v. Mayor of Balt., 791 F.3d 500, 508–09 (4th Cir.
        2015).




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                                      ARGUMENT

        I.    GenBioPro lacks standing.
              Article III of the Constitution limits the judicial power to “Cases”
        and “Controversies.” Courts enforce this jurisdictional limit by ensuring
        litigants have standing to sue. Spokeo, Inc. v. Robbins, 578 U.S. 300,
        338 (2016). To establish standing, a plaintiff must show it has suffered
        an “injury in fact” that is “concrete and particularized” and “actual or
        imminent, not conjectural or hypothetical,” and that is “fairly traceable”

        to the defendant’s actions and subject to redress by the court. Lujan v.
        Defenders of Wildlife, 504 U.S. 555, 560–61 (1992) (cleaned up). Since
        GenBioPro filed suit before any enforcement occurred, it must allege
        “an intention to engage in a course of conduct arguably affected with a
        constitutional interest, but proscribed by a statute, and there exists a
        credible threat of prosecution thereunder.” Susan B. Anthony List v.
        Driehaus, 573 U.S. 149, 159 (2014).
              GenBioPro lacks standing because it does not allege that it has
        sold or intends to sell mifepristone in West Virginia. It implied to the
        district court that it had done so, JA127, but did not provide any proof
        or attempt to amend its complaint to so allege.
              GenBioPro does not allege that it has taken the most basic steps
        that would be required to sell mifepristone in West Virginia. Though
        the REMS requires sponsors like GenBioPro to “[e]nsure” prescribers




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        and pharmacies are specially certified, 14 GenBioPro doesn’t allege it has
        done so for any providers in West Virginia. JA322. Nor is GenBioPro

        licensed to sell its product in the State. 15 Because West Virginia’s laws
        do not apply to extraterritorial conduct, GenBioPro must at least allege
        some action within the State’s borders. It hasn’t alleged anything.
              What’s more, GenBioPro cannot establish that its conduct is
        prohibited by the UCPA. See SBA List, 573 U.S. at 159. Nothing in that
        statute prohibits the sale of mifepristone. Rather, the UCPA regulates

        performing an unlawful abortion. W. Va. Code § 61-2-8(a). And the
        UCPA contains several exceptions that allow abortion (and mifepristone
        use) in certain situations, including lethal fetal anomalies and medical
        emergencies, W. Va. Code § 16-2R-3(a), as well as sexual assault and
        incest, § 16-2R-3(b), (c). Plus, the UCPA does not prevent mifepristone
        from being used for purposes other than abortion, such as miscarriage
        management or Cushing’s syndrome treatment.
              GenBioPro gestures towards West Virginia’s criminal statutes and
        the “attempt” provisions of the UCPA. GenBioPro Br. 44 (citing W. Va.

        Code §§ 61-2-8(a), (b); 16-2R-2). But those statutes do not apply to
        GenBioPro. The UCPA does not restrict the sale of mifepristone in West
        Virginia at all. It merely limits the performance of abortions in the



        14 2023 Mifepristone REMS, supra note 8, at 2, 4, 5.

        15 Licensee Verification, supra note 11.




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        State to licensed medical professionals, W. Va. Code § 16-2R-3(g), which
        is reflected in the revised criminal statute, § 61-2-8(a). And even if

        GenBioPro sold its product with the intent that it be stocked by
        pharmacies or physicians in the State, it would have no knowledge of
        whether the drug was going to be used in one of several lawful ways or
        for an unlawful abortion. It is thus difficult to foresee a factual scenario
        where GenBioPro would violate these various provisions. GenBioPro’s
        complaint does not allege any situation in which it would know an

        individual patient’s circumstances.
              GenBioPro suggests alternatively that it has standing because it
        has lost sales since West Virginia’s laws allegedly “make it impossible ...
        to promote and market its product” in the State. JA322, JA320. But
        again, GenBioPro has never sold the drug in the State or taken
        appropriate steps to do so, before or after the UCPA. Cf. SBA List, 573
        U.S. at 159–61 (describing plaintiffs who had engaged in prohibited
        activity in the past). So any lost sales are purely “hypothetical.” Lujan,
        504 U.S. at 560. There is no injury GenBioPro can claim as its own.
              Neither can GenBioPro rely on third-party standing by alleging
        derivative harm to pharmacies and doctors who might sell or prescribe
        mifepristone in West Virginia. JA322. That doctors and pharmacies
        might be subject to penalties for violating the UCPA does not give
        GenBioPro standing, since a plaintiff “generally must assert his own
        legal rights and interests, and cannot rest his claim to relief on the legal


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        rights or interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499
        (1975). To invoke third-party standing, GenBioPro must show not only

        that the law “injures the rights of others,” Maryland Shall Issue, Inc. v.
        Hogan, 971 F.3d 199, 214 (4th Cir. 2020), but also that GenBioPro is
        threatened by the application of the law and suffers its own injury,
        Craig v. Boren, 429 U.S. 190, 194 (1976). And to have standing to
        challenge a state law before it has been enforced, a plaintiff must
        demonstrate a credible threat that the law will be enforced against the

        plaintiff. Younger v. Harris, 401 U.S. 37, 42 (1973); SBA List, 573 U.S.
        at 158–59. GenBioPro has not alleged (and cannot allege) that here, so
        it lacks standing. This Court should dismiss.

        II.   GenBioPro lacks a cause of action.
              GenBioPro also lacks a cause of action for its preemption claims.
        GenBioPro looks to Section 1983, which provides a cause of action to
        protect “any rights, privileges, or immunities secured by the

        Constitution and laws.” JA328 (citing 42 U.S.C. § 1983). But Section
        1983 is unavailable because the Supremacy Clause does not create any
        judicially enforceable “federal rights.” Armstrong v. Exceptional Child

        Ctr., Inc., 575 U.S. 320, 324 (2015) (citation omitted). It simply “creates
        a rule of decision ... instruct[ing] courts what to do when state and
        federal law clash.” Id. at 324–25. It does not confer a cause of action or

        say “who may enforce federal laws in court.” Id. at 325. Accordingly,




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        neither the Supremacy Clause nor Section 1983 give GenBioPro a “right
        to enforce federal laws against the States.” Id.

              Equity does not recognize any basis for GenBioPro to sue under
        the Supremacy Clause to enforce the FDCA either. As the Supreme
        Court explained in Armstrong, “the power of federal courts of equity to
        enjoin unlawful executive action is subject to express and implied
        statutory limitations,” and courts cannot “disregard statutory and
        constitutional requirements and provisions.” Id. at 327 (citations

        omitted). Thus, in Armstrong, the Court rejected an equitable action to
        enforce the Supremacy Clause where two statutory features of the
        Medicaid Act “implicitly preclude[d] private enforcement” and showed
        “Congress’s intent to foreclose equitable relief.” Id. at 328 (cleaned up).
              That result is even more appropriate here because Congress has
        explicitly prohibited private enforcement of the FDCA: “[A]ll such
        proceedings for the enforcement, or to restrain violations, of this
        chapter shall be by and in the name of the United States.” 21 U.S.C.
        § 337(a). Thus, as the Supreme Court has recognized, “[p]rivate parties
        may not bring enforcement suits” under the FDCA. POM Wonderful
        LLC v. Coca-Cola Co., 573 U.S. 102, 109 (2014). Regulated parties,
        including pharmaceutical companies, have no private right of action to
        enforce the FDCA. See Mylan Laby’s, Inc. v. Matkari, 7 F.3d 1130, 1139
        (4th Cir. 1993); Sandoz Pharms. Corp., v. Richardson-Vicks, Inc., 902
        F.2d 222, 231 (3d Cir. 1990); PhotoMedex, Inc. v. Irwin, 601 F.3d 919,


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        924 (9th Cir. 2010); Amarin Pharma, Inc. v. Int’l Trade Comm’n, 923
        F.3d 959, 966 (Fed. Cir. 2019).

              Because “[t]he FDCA leaves no doubt that it is the Federal
        Government rather than private litigants who are authorized to file
        suit” to enforce its provisions, Buckman Co. v. Plaintiffs’ Legal Comm.,
        531 U.S. 341, 349 n.4 (2001), any attempt to enforce the Supremacy
        Clause in equity is barred just like the state-law fraud-on-the-FDA
        claims in Buckman, id. at 350. The United States has declined to sue

        here, and GenBioPro has no statutory or equitable right to do so in the
        United States’ absence.
              In the district court, GenBioPro might have been able to assert the
        Supremacy Clause as the rule of decision in connection with its sepa-
        rate claims that West Virginia’s laws violate the dormant Commerce
        Clause. JA328–330. But the district court dismissed those claims with
        prejudice, and GenBioPro has voluntarily abandoned them on appeal,
        leaving only its preemption theory. JA289; Valenzuela, 714 F.3d at 248–
        49. And since GenBioPro’s preemption theory lacks a cause of action,
        this Court should affirm dismissal on that basis, as it may “affirm on
        any ground appearing in the record, including theories not relied upon
        or rejected by the district court.” United States v. McHan, 386 F.3d 620,
        622–23 (4th Cir. 2004) (quoting Scott v. United States, 328 F.3d 132,
        137 (4th Cir. 2003)); see also Blum v. Bacon, 457 U.S. 132, 138 (1982)




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        (“[A]n appellee may rely upon any matter appearing in the record in
        support of the judgment below.”).

        III. The Unborn Child Protection Act is not preempted.
              The district court rightly rejected GenBioPro’s preemption theory
        on the merits. At the start, GenBioPro’s claims face two interpretive
        canons that pose insuperable hurdles to its novel theory: (1) the

        presumption against preemption; and (2) the major questions doctrine.
              The preemption analysis starts “with the assumption that the
        historic police powers of the States [are] not to be superseded by the
        Federal Act unless that was the clear and manifest purpose of
        Congress.” Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947);
        Wyeth v. Levine, 555 U.S. 555, 565 (2009). “That assumption applies

        with particular force when Congress has legislated in a field tradi-
        tionally occupied by the States.” Altria Grp., Inc. v. Good, 555 U.S. 70,
        77 (2008). This presumption, based on the “historic presence of state
        law,” is so strong that it applies even when the federal government has
        also regulated in an area “for more than a century.” Wyeth, 555 U.S. at
        565 n.3. Thus, in applying that presumption to a federal statute

        “susceptible of more than one plausible reading, courts ordinarily
        ‘accept the reading that disfavors pre-emption.’” Altria, 555 U.S. at 77
        (quoting Bates v. Dow Agrosciences LLC, 544 U.S. 431, 449 (2005)).

              That presumption applies here. “The States traditionally have had
        great latitude under their police powers to legislate as ‘to the protection


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        of the lives, limbs, comfort, and quiet of all persons.’” Metropolitan Life
        Ins. Co. v. Massachusetts, 471 U.S. 724, 756 (1985) (citation omitted).

        The Supreme Court has long recognized “‘the historic primacy of state
        regulation of matters of health and safety’” regulated by the UCPA.
        Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996). And as to abortion
        specifically, “the vast majority of the States enacted statutes crimi-
        nalizing abortion at all stages of pregnancy,” presenting an “overwhelm-
        ing consensus” that “endured until the day Roe was decided.” Dobbs v.

        Jackson Women’s Health Org., 597 U.S. 215, 248–49 (2022). GenBioPro
        cannot rebut the strong presumption that West Virginia laws protecting
        the health and safety of its citizens are not preempted.
              The major questions doctrine also counsels against a reading of
        the FDCA that would hang a major policy question—a federal abortion
        mandate—on the miniscule statutory hook of FDA’s REMS authority. 16

        Based on “both separation of powers principles and a practical under-
        standing of legislative intent,” the major questions doctrine reflects the
        presumption that “Congress intends to make major policy decisions

        itself.” West Virginia v. E.P.A., 597 U.S. 697, 723 (2022) (citation
        omitted). And if Congress instead chooses to delegate a major policy

        16 The district court held the major questions doctrine was inapplicable

        outside of the administrative-law context, JA261–262, but the doctrine
        may also be understood as an interpretive canon—as “a tool for
        discerning ... the text’s most natural interpretation.” Biden v. Nebraska,
        143 S. Ct. 2355, 2376 (2023) (Barrett, J., concurring).


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        decision to a federal agency, Congress must speak clearly; it does not
        “hide elephants in mouseholes.” Whitman v. Am. Trucking Ass’ns, 531

        U.S. 457, 468 (2001).
              The major questions doctrine applies with particular force where,
        as here, there is a “lack of historical precedent” for the plaintiffs’ theory
        of interpretation. Nat’l Fed’n of Indep. Bus. v. Dep’t of Lab.,
        Occupational Safety & Health Admin., 595 U.S. 109, 119–20 (2022) (per
        curiam). Indeed, not even the federal government advances GenBioPro’s

        exorbitant reading of the FDCA. The “sheer scope” of GenBioPro’s
        theory of preemption warrants caution, Ala. Ass’n of Realtors v. Dep’t of
        Health & Hum. Servs., 141 S. Ct. 2485, 2489 (2021) (per curiam),
        particularly after the Supreme Court returned the question of abortion
        “to the people and their elected representatives.” Dobbs, 597 U.S. at
        259. So this Court should bring a strong “measure of skepticism” to a
        theory of an abortion mandate derived from a statute and regulations
        that say nothing about it. Util. Air Regul. Grp. v. E.P.A., 573 U.S. 302,
        324 (2014). “It strains credulity to believe” that the FDCA grants FDA
        “the sweeping authority” that GenBioPro asserts. Ala. Ass’n of Realtors,
        141 S. Ct. at 2486.
              None of GenBioPro’s four preemption theories succeed against this
        backdrop. First, field preemption does not apply because the UCPA and
        the FDCA regulate completely different fields and because the FDCA
        provides only a regulatory floor, not a ceiling, for laws addressing


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        dangerous drugs. Second, it is not impossible to comply with both the
        UCPA and the FDCA, since the REMS do not purport to mandate

        access to mifepristone. Third, the UCPA does not present an obstacle to
        fulfilling the FDCA’s purpose because the two statutes are complemen-
        tary. And fourth, all of GenBioPro’s preemption arguments against
        West Virginia’s long-standing informed-consent law lack merit.

              A.   Field preemption does not apply.

              GenBioPro first gerrymanders the preemption analysis by arguing
        that Congress occupied the “field” of “regulating access to REMS drugs
        subject to safe-use elements.” GenBioPro Br. 26. This theory is doubly

        flawed. For one, the UCPA does not regulate drugs at all but rather the
        conduct of abortion. And for another, the FDCA does not purport to
        completely regulate the field of REMS drugs with safe-use elements,
        but rather leaves room for additional state-law regulation.

                   1.    The FDCA and UCPA regulate separate fields.
              Field preemption does not apply because the FDCA and UCPA
        operate in different fields. The statutes regulate different subjects and

        serve different functions.
              To determine preemptive intent, courts look to a statute’s text,
        structure, context, and purpose. Virginia Uranium, Inc. v. Warren, 139

        S. Ct. 1894, 1901 (2019). None of those support field preemption here.
        As a matter of basic structure and purpose, the FDCA’s REMS program



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        is directed to drug safety, while the UCPA regulates abortion. The
        UCPA prohibits the intentional performance of an abortion, subject to

        certain exceptions. W. Va. Code § 16-2R-2 (defining “Abortion”); § 16-
        2R-3 (describing circumstances). The statute does not mention
        mifepristone or regulate whether or how it should be prescribed or
        dispensed.
              The UCPA’s abortion regulations are also “fundamentally un-
        related” to the mifepristone REMS regime because they serve an

        “entirely different function[ ]”—the protection of unborn life. Kansas v.
        Garcia, 140 S. Ct. 791, 804–05 (2020) (distinguishing submission of tax
        withholding forms and the federal employment verification system); see
        also Wyeth, 555 U.S. at 579 (explaining that state tort suits serve a
        “distinct compensatory function”). The distinct function of the UCPA
        forecloses GenBioPro’s preemption theory.
              That the UCPA may have an incidental effect on the number of
        drugs sold does not turn the FDAAA into some sort of super-preemption
        statute. As Justice Ginsburg explained, “A state law regulating an
        upstream activity within the State’s authority is not preempted simply
        because a downstream activity falls within a federally occupied field.”
        Virginia Uranium, 139 S. Ct. at 1914–15 (Ginsburg, J., concurring in
        the judgment). So even if the FDCA occupied the downstream field of
        drug safety (which, as explained below, it does not), that does not mean
        it preempts the UCPA’s upstream regulation of abortion.


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                   2.    Congress did not occupy the field.
              GenBioPro’s preemption theory also fails because it cannot show

        that FDA has occupied the relevant field. Field preemption occurs in the
        “rare” situation where Congress has “legislated so comprehensively” in
        a certain field that it has “left no room for supplementary state regula-
        tion.” Kansas, 140 S. Ct. at 804 (quoting R. J. Reynolds Tobacco Co. v.
        Durham Cnty., 479 U.S. 130, 140 (1986)). Field preemption may also be
        found where a federal interest is “so dominant” that courts assume

        federal law “preclude[s] enforcement of state laws on the same subject.”
        Arizona v. United States, 567 U.S. 387, 399 (2012).
              But Congress’s intent to supersede state laws in an entire field
        must be “clear and manifest.” English v. General Elect. Co., 496 U.S. 72,
        79 (1990). A detailed federal regulatory scheme “does not by itself imply
        preemption.” Id. at 87. Rather, because “every subject that merits
        congressional legislation is, by definition, of national concern,”
        Hillsborough Cnty. v. Automated Med. Laby’s, 471 U.S. 707, 719 (1985),
        the Court looks for “special features” that warrant field preemption, id.

        Here, there are none.
              As noted, the presumption against preemption applies in full force
        here because health and safety regulations are areas of historical state

        concern. Rice, 331 U.S. at 230. Just two years ago, the Supreme Court
        recognized that the regulation of abortion is an area of longstanding
        state concern. Dobbs, 597 U.S. at 248–49. And health and safety are



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        areas of historical state regulation that the federal government has only
        more recently entered. Lohr, 518 U.S. at 475. The Supreme Court thus

        has consistently found the FDCA to co-regulate matters of health and
        safety with the states, rather than dominate them. E.g., Wyeth, 555
        U.S. at 573–75; Lohr, 518 U.S. at 485, 487. And because the FDCA does
        not preempt state failure-to-warn claims, Wyeth, 555 U.S. at 581, it
        certainly does not occupy the entire field of safety regulation pertaining
        to drugs.

              Recognizing this problem, GenBioPro tries to artificially narrow
        the field to “restrictions on access to drugs subject to a REMS with safe-
        use elements.” GenBioPro Br. 22. It claims regulation of these danger-
        ous drugs is an area of “historical” federal concern. GenBioPro Br. 58.
        But REMS drugs with elements to assure safe use are hardly an area of
        historical federal concern—the REMS regime has existed for only 17
        years. GenBioPro points to no statutory evidence that clearly shows
        Congress intended to preempt traditional state laws regulating the
        practice of medicine and related health and safety, even if such
        regulation touches on high-risk drugs. Frankly, allowing a party to
        conspicuously tailor what constitutes the relevant field, as GenBioPro
        seeks to do here, would ensure field preemption in any case and would
        make that doctrine all but meaningless.
              The FDCA’s saving clause defeats field preemption as well. A
        saving clause is “fundamentally incompatible with” field preemption. In


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        re NOS Commc’ns, MDL No. 1357, 495 F.3d 1052, 1058 (9th Cir. 2007).
        This is because such a “clause demonstrates that congressional intent to

        completely preempt this area of law is neither clear nor manifest.”
        Johnson v. Am. Towers, LLC, 781 F.3d 693, 703 (4th Cir. 2015). Accord,
        e.g., Farina v. Nokia, Inc., 625 F.3d 97, 121 (3d Cir. 2010); Aldridge v.
        Mississippi Dep’t of Corr., 990 F.3d 868, 874–75 (5th Cir. 2021).
              The detailed nature of Section 355-1 does not change this reality.
        True, FDA must consider a number of factors when determining

        whether to require a REMS. § 355-1(a)(1)(A)–(F). And it must consider
        whether its own safety measures will unduly burden patient access or
        the healthcare delivery system. § 355-1(f)(1)–(2). But “merely because
        the federal provisions were sufficiently comprehensive to meet the need
        identified by Congress” does not mean states are “barred from
        identifying additional needs or imposing further requirements in the
        field.” Hillsborough Cnty., 471 U.S. at 717. This is particularly true
        here, where the FDCA has long contemplated—and expressly provided
        for—the coexistence of federal and state protections.
              Finally, GenBioPro’s theory of field preemption is ambitious to a
        fault. It would preempt any state law that touches drugs with REMS
        and safe-use elements, even when that contact is only tangential and
        historically grounded. FDA currently has a REMS in place for 68 drugs,




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        and 64 of those have elements to assure safe use. 17 By definition, these
        are the most high-risk drugs on the market, including opioids.18 States

        have a legitimate and important interest in ensuring these drugs are
        prescribed and distributed safely. But if the FDCA “occupied” this field,
        states could do virtually nothing at the prescriber level to combat the

        opioid crisis. The FDCA would preempt state laws limiting prescribing
        authority, see Ky. Rev. Stat. § 218A.205(3)(b); limiting dosages, see 12-5
        Vt. Code R. § 53; and requiring prescribers to obtain a controlled
        substances certificate, see Ala. Code § 20-2-51. There is no basis to infer
        this vast displacement of state law on traditional matters of state
        concern without even a word from Congress.

              B.   GenBioPro can comply with the FDCA and the UCPA.

              GenBioPro’s impossibility preemption theory also fails. GenBioPro

        must show that it is “impossible for it to comply with both federal and
        state requirements.” Wyeth, 555 U.S. at 573; Drager v. PLIVA USA, 741
        F.3d 470, 475 (4th Cir. 2014). Impossibility occurs “when federal law

        forbids an action that state law requires,” Bartlett, 570 U.S. at 486, or


        17 Approved Risk Evaluation and Mitigation Strategies (REMS), FDA

        (last accessed Mar. 24, 2024),
        https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm.
        18 Approved Risk Evaluation and Mitigation Strategies (REMS), Opioid

        Analgesic REMS, FDA (last accessed Mar. 24, 2024),
        https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm?event=Rem
        sDetails.page&REMS=17.


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        when “state law penalizes what federal law requires,” Geier v. Am.
        Honda Motor Co., 529 U.S. 861, 873 (2000); see, e.g., Florida Lime &

        Avocado Growers, Inc. v. Paul, 373 U.S. 132, 143 (1963) (describing
        hypothetical federal law that forbade avocadoes with more than 7% oil
        and state law that required avocadoes with more than 8% oil).
              It is not impossible for GenBioPro to comply with both the
        mifepristone REMS and the UCPA. To begin, the UCPA does not
        purport to regulate out-of-state actions of manufacturers like

        GenBioPro. In addition, nothing in the FDCA mandates access to
        mifepristone. Nor is it true that complying with both the FDCA and the
        UCPA prevents GenBioPro from selling the drug in West Virginia. The
        Court should reject GenBioPro’s impossibility theory.

                   1.    The UCPA does not regulate GenBioPro.
              Impossibility preemption does not apply because, as the district
        court concluded, the UCPA does not regulate GenBioPro’s conduct in

        selling mifepristone “at all.” JA271. Simply put, the UCPA regulates
        the practice of abortion in West Virginia; it does not regulate the sale or
        marketing of any instrumentality or drug used for abortions, like

        mifepristone. The UCPA does not apply extraterritorially or to the
        commercial distribution of mifepristone in West Virginia.
              While GenBioPro asserts (for the first time) that it could face

        criminal penalties, GenBioPro Br. 44, that newly asserted theory does
        not hold up. To start, since GenBioPro did not argue that the related


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        criminal statute, W. Va. Code § 61-2-8(a), applies to it before the district
        court, it waived the argument.

              Beyond that, W. Va. Code § 61-2-8(a) existed before Dobbs and
        now speaks to who may perform abortions in West Virginia. It prohibits
        anyone other than a licensed medical professional from “knowingly and
        willfully perform[ing], induc[ing], or attempt[ing] to perform or induce
        an abortion.” Id. GenBioPro does not allege that it performs or induces
        abortions. Meanwhile, the UCPA defines “[a]ttempt to perform an

        abortion” as “an act or omission … that, under the circumstances as the
        person so acting or omitting to act believes them to be, constitutes a
        substantial step in a course of conduct intended to culminate in an
        abortion.” W. Va. Code § 16-2R-2 (emphasis added). This would demand
        a great deal from the manufacturer of a legal product to establish
        criminal liability. GenBioPro is far removed from the doctor’s
        conversation with a particular patient and determination whether an
        abortion would be legal in her circumstances. GenBioPro does not allege
        it would be involved in that process or know whether the circumstances
        of a given use of its product make it illegal under the UCPA. GenBioPro
        thus does not allege that it has taken or will take any action that will
        subject it to punishment under the related criminal statute.

                   2.    The FDCA does not mandate drug access.
              GenBioPro identifies no provision in the FDAAA or REMS that
        requires something the UCPA prohibits or prohibits something the


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        UCPA requires. Instead, its impossibility argument hinges on the false
        premise that the FDAAA and REMS mandate access to mifepristone.

        But they do no such thing. The FDAAA does not require drug
        manufacturers to sell their approved drugs to all eligible patients.
        Though the mifepristone REMS imposes a variety of obligations on
        GenBioPro and others in the chain of distribution, 19 it does not require
        any provider to prescribe mifepristone, any pharmacy to dispense it, or
        any manufacturer or distributor to sell it (much less at an affordable
        price). Without such a duty, there can be no impossibility conflict.

                   3.    Bartlett does not save GenBioPro’s claims.
              GenBioPro unpersuasively attempts to compare its position to
        that of the generic manufacturer asked to “stop selling” its product in

        Bartlett. GenBioPro Br. 42–44. That case involved a state tort-law
        challenge to the formulation and labeling of an FDA-approved drug,
        where federal law prohibited any changes to the drug’s design or label

        without FDA approval. Bartlett, 570 U.S. at 475. It was a paradigmatic
        case of impossibility preemption: by deeming the product defective in its
        design, “[s]tate law imposed a duty ... not to comply with federal law.”
        Id. The Court rejected the notion that the manufacturer could avoid the
        conflict if it “stop[ped] selling” its product: “our pre-emption cases
        presume that a manufacturer’s ability to stop selling does not turn


        19 See 2023 Mifepristone REMS, supra note 8, at 1–5.




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        impossibility into possibility,” since holding otherwise would render
        impossibility pre-emption “all but meaningless.” Id. at 487 n.3.

              This reasoning does not apply here for two reasons. First, and
        most simply, the “stop selling” rationale does not apply where a
        manufacturer has not even started selling its product in-state.
              Second, even if GenBioPro were to start selling mifepristone in
        West Virginia, the UCPA would not demand that it stop because the
        statute regulates abortion, not the sale of a drug. W. Va. Code § 16-2R-

        3. GenBioPro is free to sell mifepristone in West Virginia. To the extent
        the UCPA restricts mifepristone use, it does so only where the drug
        would be used for illegal abortions—not for cases where abortion is
        lawful or for any other purpose for which a doctor might prescribe it,
        such as management and treatment of Cushing’s syndrome and uterine
        leiomyomas. West Virginia’s regulation of abortion does not demand
        anyone stop selling mifepristone any more than Virginia’s prohibition of
        the death penalty demands anyone stop selling drugs that may be used
        for lethal injection. See Va. S.B. 1165 (Mar. 24, 2021).
              GenBioPro’s claim that the UCPA makes it “practically
        impossible” to sell its product, GenBioPro Br. 23, is off-base. The fact
        that the law limits the availability of abortion to finite circumstances,
        having a downstream reduction in market demand, does not create an
        impossibility conflict. That is a consequence of permissible regulation,
        not a basis for preemption. Bartlett, 570 U.S. at 489 n.5. Also,


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        commercially supplying a legal product used in abortions, like
        mifepristone, to healthcare providers violates no law, except in the

        unalleged scenario where the supplier possesses unusual and specific
        knowledge and intent to further an illegal abortion.
              If the FDCA granted GenBioPro a “right” to sell mifepristone,
        perhaps GenBioPro would have a claim. See Wyeth, 555 U.S. at 590
        (Thomas, J., concurring). But the FDCA does no such thing, and the
        district court correctly held that impossibility preemption does not

        apply.

              C.   The UCPA is not an obstacle to the REMS program.

              GenBioPro also argues that the UCPA obstructs Congress’s
        objectives because it “interfere[s] with the balance Congress and FDA
        struck.” GenBioPro Br. 44. State laws that “stand[ ] as an obstacle to
        the accomplishment and execution of the full purposes and objectives of
        Congress” are impliedly preempted. Hines v. Davidowitz, 312 U.S. 52,
        67 (1941).20 But Supreme Court precedent establishes a “high

        threshold” to show a state law is “preempted for conflicting with the
        purposes of a federal Act.” Chamber of Com. v. Whiting, 563 U.S. 582,
        607 (2011) (citation omitted). This is especially true where the

        20 Appellees dispute that “purposes and objectives preemption” is a

        constitutionally valid basis for finding federal preemption of state law.
        See Wyeth, 555 U.S. at 583–88, 594–604 (Thomas, J., concurring).
        Appellees reserve the right to challenge this doctrine if this case is
        appealed to the United States Supreme Court.


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        presumption against preemption and major questions canons require
        clarity from Congress. And here, the objectives of the UCPA and the

        FDCA are in harmony, not in conflict.
              Purposes-and-objectives preemption follows a two-part test: It first
        identifies “Congress’s ‘significant objectives’ in passing the federal law.”
        Guthrie v. PHH Mortg. Corp., 79 F.4th 328, 338 (4th Cir. 2023), petition
        for cert. filed (Aug. 18, 2023). It next determines whether the state law
        is an obstacle to those objectives. Id.

                   1.    The FDCA sets a federal safety floor, not a ceiling.
              The FDCA has long been understood to set a federal safety floor
        and to allow complementary state regulation, which is the opposite of
        an obstacle. Indeed, in Wyeth, which involved a purported conflict

        between FDA’s approved labeling allowing a specific method of drug
        administration and a state tort claim that would hold that method
        unsafe, the Supreme Court rejected the argument that “the FDCA

        establishes both a floor and a ceiling for drug regulation.” 555 U.S. at
        573–74. Rather, the Court determined that “all evidence of Congress’
        purposes is to the contrary.” Id. at 574.

              As the Court explained, “Congress enacted the FDCA to bolster
        consumer protection against harmful products,” and state laws may
        further this consumer-protection objective with additional regulations.

        Id. In fact, FDA itself has “long maintained that state law offers an




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        additional, and important, layer of consumer protection that
        complements FDA regulation.” Id. at 578–79.

              The Wyeth Court identified two provisions of the FDCA that
        reenforce this historical understanding. 555 U.S. at 567, 574–75. First,
        the Drug Amendments Act of 1962 included a saving clause preserving
        state law unless it posed a “direct and positive conflict” with the
        amendments. § 202, 76 Stat. at 793. And second, Congress amended the
        FDCA to include an express preemption provision with respect to

        medical devices, Medical Device Amendments of 1976, § 521, 90 Stat. at
        574, but “declined” to enact a similar preemption provision for
        prescription drugs, Wyeth, 555 U.S. at 567. Congress, of course, knows
        how to preempt state law and chose not to do so for REMS or any other
        drugs. See Riegel v. Medtronic, Inc., 552 U.S. 312, 333, 342 (2008)
        (Ginsburg, J., dissenting).

                   2.    The FDAAA regulates drug safety, not access.
              Given that the FDCA has long allowed complementary state
        regulation, GenBioPro turns to the REMS provisions, arguing they
        reveal an intent to ensure drug access. GenBioPro Br. 45–52. Not so.

              The FDCA’s primary objective is to ensure the safety of the
        products it regulates. See Wyeth, 555 U.S. at 574; 52 Stat. at 1040.
        Congress amended the Act in 1962 to “protect the public health” and

        “assure the safety, effectiveness, and reliability of drugs.” 76 Stat. at
        780; Wyeth, 555 U.S. at 567. And it amended it again in 2007 “to


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        enhance the postmarket authorities for [FDA] with respect to the safety
        of drugs[.]” 21 Stat. at 823 (emphasis added); cf. GenBioPro Br. 45 (“The

        FDAAA’s preamble states its objective.”). Uniform nationwide drug
        access was not an objective—let alone a “significant” objective—when
        Congress passed these laws. Guthrie, 79 F.4th at 338.
              The text of the REMS provisions comes nowhere close to
        authorizing a drug access mandate—much less with the clarity needed
        to overcome the presumption against preemption and major questions

        canons. The statute merely directs FDA to evaluate how its own safe-
        use elements will affect access. § 355-1(f)(1)(2). Indeed, the statute
        plainly applies its access specification only to these elements: It
        provides that “[s]uch elements to assure safe use under paragraph (1)
        shall … considering [the safety] risk, not be unduly burdensome on
        patient access to the drug” and “to the extent practicable” conform with
        the safe-use elements for other drugs with similar risks and
        distribution systems “so as to minimize the burden on the health care
        delivery system.” § 355-1(f)(1)(2) (emphasis added). Thus, the district
        court correctly concluded that this provision “is plainly a limitation on
        the FDA’s own restrictions on a drug, rather than a command that the
        FDA assure access for all patients.” JA268.
              GenBioPro’s contrary reading of the REMS provision finds no
        support in the statutory context, either. If that provision mandated
        drug “access” as GenBioPro maintains, one would expect to see


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        conditions that go hand in hand with an “access” mandate—such as a
        requirement that drug manufacturers actually sell approved drugs. Or

        a requirement that manufacturers sell those drugs at an accessible
        price. The statute contains no such duties.
              More statutory clues show Congress’s overarching purpose. The
        relevant title in the FDAAA is named “Enhanced Authorities Regarding
        Postmarket Safety of Drugs.” 121 Stat. at 922 (emphasis added). That
        title contains two subtitles: “A—Postmarket Studies and Surveillance”

        and “B—Other Provisions to Ensure Drug Safety and Surveillance.” 121
        Stat. at 922, 951. The overarching “goal” of REMS is to “mitigate” the
        risks of high-risk drugs, not guarantee access to them. 21

              Section 355-1’s safety purpose is confirmed by the provisions
        addressing when FDA may require a REMS. FDA may institute a
        REMS if it determines one “is necessary to ensure that the benefits of
        the drug outweigh the risks of the drug” (i.e., to enhance the drug’s
        safety). 21 U.S.C. § 355-1(a)(1). In making this determination, FDA may
        consider patient population size, seriousness of the disease, expected
        drug benefit, treatment duration, seriousness of adverse events, and
        whether the drug is a new molecular entity. Id. FDA may also require a
        REMS if it learns of “new safety information” after a drug’s initial

        approval. § 355-1(a)(2)(A); see § 355-1(b)(3). All these statutory factors


        21 2023 Mifepristone REMS, supra note 8, at 1.




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        concern safety; none relate to access. Similarly, Congress incorporated
        safe-use elements to mitigate a “serious specific risk” from a drug’s

        “inherent toxicity or potential harmfulness,” not to ensure access. § 355-
        1(f)(1).
              The only references to “access” in the REMS framework are
        addressed to FDA. “Congress’s purpose” for these provisions was “to
        ensure that the elements themselves would not be unduly burdensome
        upon patient access.” JA268. They do not purport to preempt the state’s

        historical authority over health and safety—much less abortion
        regulation. Because those provisions are a limitation only on FDA, the
        lower court properly concluded that the UCPA did “not pose an
        ‘unacceptable obstacle to the accomplishment and execution of the full
        purposes and objectives of Congress.’” JA269 (quoting Wyeth, 555 U.S.
        at 563–64).

                   3.    The UCPA complements the FDCA.
              The UCPA’s objectives complement those of the FDCA. The
        “preservation of prenatal life” and the “protection of maternal health
        and safety” are “legitimate” state objectives. Dobbs, 597 U.S. at 301.

        The UCPA’s limits on abortion do not obstruct the accomplishment and
        execution of the FDCA’s health and drug-safety objectives. The UCPA
        does not eliminate any of FDA’s mifepristone safety requirements. It

        instead protects maternal health by including exceptions for ectopic
        pregnancies and medical emergencies. W. Va. Code § 16-2R-3(a)(2)–(3).


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        And it allows the use of FDA-approved drugs and devices for purposes
        other than illegal abortions. § 16-2R-4(a)(4), (b). GenBioPro does not

        even try to claim that the UCPA endangers patient health or drug
        safety.
              The UCPA’s measures do not disturb what GenBioPro calls FDA’s
        “balance between access and burden.” GenBioPro Br. 47. The only
        balancing FDA must conduct is to ensure that its own REMS
        requirements do not unduly burden access to the drug. See 21 U.S.C.

        § 355-1(f). The UCPA does not touch this balance. That’s why the lower
        court concluded that it could not “find any evidence of Congressional
        intent in the FDCA or FDAAA amendments to preempt state laws of
        the type challenged here.” JA266.
              When a state, in the exercise of its historic authority, prohibits
        conduct before a federal regulatory regime even kicks in, the state’s law
        does not disrupt the “balance” sought by the federal regime. In Virginia
        Uranium, Inc. v. Warren, the Supreme Court upheld Virginia’s ban on
        uranium mining despite the fact that federal law regulated uranium
        milling, transfer, use, and disposal. 139 S. Ct. at 1900–01. This was so
        even though Virginia’s ban on uranium mining “ma[de] it far less likely,
        though not impossible,” that the federally supervised milling or tailings
        storage activities would take place. Id. at 1914 (Ginsburg, J., concurring
        in the judgment). And in National Meat Association v. Harris, the Court
        noted that a state ban on butchering horses for consumption would not


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        be preempted by a federal scheme that regulates how horses may be
        slaughtered. 565 U.S. 452, 467 (2012).

              Here, the UCPA similarly regulates activity “upstream” of the
        federal REMS safeguards. Virginia Uranium, 139 S. Ct. at 1915
        (Ginsburg, J., concurring in the judgment). Indeed, this is an easier case
        than Virginia Uranium because GenBioPro may freely sell mifepristone
        for legal uses, including for legal abortions, miscarriage management,
        and Cushing’s syndrome treatment. As the lower court held, because

        the UCPA “limit[s] when an abortion may be performed, without
        touching how medication abortion is to be performed,” it does not
        directly conflict with “the logistical REMS regulations.” JA272–273.
              In contrast, the cases GenBioPro cites for its “balancing”
        argument mostly involve “uniquely federal areas of interest.” Chamber
        of Com., 563 U.S. at 604; e.g., Buckman, 531 U.S. at 352 (fraud on
        federal agency); OpenRisk, LLC, v. Microstrategy Servs. Corp., 876 F.3d
        518, 523 (4th Cir. 2017) (copyright); Int’l Paper Co. v. Ouellette, 479 U.S.
        481, 487–88 (1987) (interstate water); Amgen Inc. v. Sandoz, 877 F.3d
        1315, 1327 (Fed. Cir. 2017) (patent law); Locke, 529 U.S. at 97, 99
        (maritime vessels). Regulating abortion “has never been considered …
        an area of dominant federal concern,” and these cases “concern state
        actions that directly interfered with the operation of the federal
        program.” Chamber of Com., 563 U.S. at 604. Plus, as explained above,
        GenBioPro’s reliance on Buckman simply confirms that it lacks the


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        authority to privately enforce provisions of the FDCA that Congress has
        committed exclusively to the federal government. The UCPA does not

        interfere with FDA’s mifepristone REMS safety requirements.
              Under GenBioPro’s theory, Congress preempted complementary
        state regulation only for the most dangerous drugs like mifepristone
        and opioids. That makes no sense. Even if the UCPA indirectly regu-
        lates specific uses of mifepristone by regulating a procedure for which
        the drug is used, it is a permissible supplementary safety regulation. It

        does not prohibit GenBioPro, or any provider or pharmacy, from
        complying with the REMS requirements. Rather, it adds a step to the
        process, requiring the provider to assess the patient’s circumstances
        and determine whether the drug may be prescribed to her under state
        law. See W. Va. Code §§ 16-2R-2, 16-2R-3. In cases where the UCPA
        allows abortion, it is simply the case that providers may prescribe
        mifepristone manufactured by GenBioPro and comply with the federal
        REMS.

              D.   The informed-consent law is not preempted.

              Finally, GenBioPro argues that if the UCPA is preempted, then so
        is West Virginia’s informed-consent law that would take effect if the

        UCPA were overturned. W. Va. Code § 16-2I. The Court need not (and
        must not) reach this issue because the informed-consent law is not in
        effect. See W. Va. Code §§ 16-2I-9, 16-2R-9. Plaintiffs cannot challenge a




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        law that is not in effect because they are not harmed by it and so cannot
        satisfy Article III standing requirements. Cf. California v. Texas, 593

        U.S. 659, 669–71 (2021).
              Regardless, the informed-consent law is not preempted for many
        of the same reasons set forth above. Congress has not “occupied the
        field.” Supra, pp. 31–34. Nor does GenBioPro argue it is impossible to
        comply with both the informed-consent law and the mifepristone
        REMS. GenBioPro Br. 42–44 (arguing only that it cannot comply with

        both the REMS and the UCPA). See Valenzuela, 714 F.3d at 248–49
        (“[C]ontentions not raised in the argument section of the opening brief
        are abandoned.”).
              This leaves obstacle preemption. West Virginia’s informed-consent
        law does not obstruct the FDCA’s drug-safety objective. See supra pp.
        39–44. It neither removes nor interferes with any of the mifepristone
        REMS requirements; it simply complements them. Like the REMS, the
        informed-consent law requires healthcare providers to inform patients
        of mifepristone’s serious risks. Compare W. Va. Code § 16-2I-2(a)(1)
        with 2023 Mifepristone REMS, supra note 8, at 1, 4. And the informed-
        consent law requires providers to tell patients the probable gestational
        age of their child, something certified providers must be able to do
        under the REMS. Compare W. Va. Code § 16-2I-2(a)(2) with 2023 Mife-
        pristone REMS, supra note 8, at 1. Providers may prescribe mifepri-




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        stone consistently with both the REMS and West Virginia’s informed-
        consent law.

              Before Dobbs, the Supreme Court held that a truthful and non-
        misleading informed-consent requirement with a 24-hour waiting
        period did not unduly burden a woman’s access to abortion. Casey, 505
        U.S. at 833, 881–87, overruled on other grounds by Dobbs, 597 U.S. at
        231. So West Virginia’s informed-consent law cannot upset FDA’s
        “balance” of safety and undue burden. Twenty-five states require

        modest waiting periods such as this one. 22 No one has ever suggested
        that the FDCA preempted them. Yet GenBioPro’s theory would
        dispense with them all.




        22 Ala. Code § 26-23A-4(a) (48 hours); Ariz. Rev. Stat. Ann. § 36-

        2153(A)(1) (24 hours); Fla. Stat. § 390.0111(3)(a)(1) (24 hours); Ga. Code
        Ann. § 31-9A-3(1) (24 hours); Idaho Code Ann. § 18-609(4) (24 hours);
        Ind. Code § 16-34-2-1.1(a)(1) (18 hours); Iowa Code § 146A.1(1) (24
        hours); Kan. Stat. Ann. § 65-6716(c)(1) (24 hours); Ky. Rev. Stat. Ann.
        § 311.7735(1) (24 hours); La. Rev. Stat. Ann. § 40:1061.17(B)(3)(a) (72
        hours); Mich. Comp. Laws § 333.17015(3) (24 hours); Miss. Code Ann.
        § 41-41-33(1)(a) (24 hours); Mo. Rev. Stat. § 188.027(1) (72 hours); N.C.
        Gen. Stat. Ann. § 90-21.83A(b)(1) (72 hours); Neb. Rev. Stat. § 28-327(1)
        (24 hours); N.D. Cent. Code § 14-02.1-02 (24 hours); Ohio Rev. Code
        Ann. § 2317.56(B)(1) (24 hours); 18 Pa. Cons. Stat. § 3205(a)(1) (24
        hours); S.C. Code. Ann. § 44-41-330(C) (24 hours); S.D. Codified Laws §
        34-23A-56 (72 hours); Tenn. Code Ann. § 39-15-202(d)(1) (48 hours);
        Tex. Health & Safety Code Ann. § 171.012(a)(4) (24 hours); Utah Code
        Ann. § 76-7-305(2) (72 hours); W. Va. Code § 16-2I-2(a) (24 hours); Wis.
        Stat. § 253.10(3)(c)(1) (24 hours).


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              West Virginia’s provision requiring disclosure of the possibility of
        abortion-pill reversal also does not conflict with the mifepristone REMS.

        See W. Va. Code § 16-2I-2(a)(4). FDA protocols contemplate that a
        woman who intends “to end [her] pregnancy” will take both
        mifepristone and misoprostol to complete the chemical abortion
        process.23 But federal law does not require a woman to take the second
        abortion drug or allow a provider to force a woman to complete an
        abortion. The woman may change her mind. West Virginia’s disclosure
        requirement informs her that abortion-pill reversal may be possible in
        case she does.
              To be sure, the informed-consent law contains requirements not

        included in the mifepristone REMS. But states are not “barred from
        identifying additional needs or imposing further requirements” in a
        field merely because Congress has enacted federal provisions that are
        “sufficiently comprehensive” to meet its own need. Hillsborough Cnty.,
        471 U.S. at 717.
              Even under Casey, states could ensure women understood the

        consequences of their decisions and were provided with information
        empowering them to choose life. Casey, 505 U.S. at 882–86. Congress
        directed FDA to ensure drug safety while considering the patient-access

        and healthcare-system burdens imposed by its safe-use elements. West

        23 Patient Agreement Form (Jan. 2023), 2023 Mifepristone REMS,

        supra note 8.


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        Virginia decided to promote the protection of unborn life and ensure
        that women taking abortion drugs fully understood their options.

        Nothing in federal law prohibits the State from requiring that women
        be informed of the ability to make life-saving choices.

                                     CONCLUSION

              The Court should remand with instructions to dismiss for lack of

        jurisdiction or affirm the district court’s dismissal with prejudice.

                        REQUEST FOR ORAL ARGUMENT

              Due to the novelty and far-reaching effects of GenBioPro’s
        preemption argument, Appellees request oral argument.

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                         CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Fed. R. App.
        P. 32(a)(7)(B) because this brief contains 11,388 words, excluding the
        parts of the brief exempted by Fed. R. App. P. 32(f), as determined by
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